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                        Exhibit A

                      Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC1
                                                                    (Jointly Administered)
                     Debtors.
                                                                    Ref. Docket No. ___


    ORDER SUSTAINING DEBTORS’ FIFTH OMNIBUS (SUBSTANTIVE) OBJECTION
      TO CERTAIN (I) SUBSTANTIVE DUPLICATE CLAIMS, (II) NO LIABILITY
      CLAIMS, AND (III) REDUCE AND ALLOW CLAIMS (NON-ABUSE CLAIMS)

             Upon the Debtors’ Fifth Omnibus (Substantive) Objection to Certain (I) Substantive

Duplicate Claims, (II) No Liability Claims, and (III) Reduce and Allow Claims (Non-Abuse
                                  2
Claims) (the “Objection”), of the debtors and debtors in possession (together, the “Debtors”) in

the above-captioned chapter 11 cases, pursuant sections 105 and 502 of the Bankruptcy Code,

Bankruptcy Rule 3007, and Local Rule 3007-1; and the Court having jurisdiction to consider the

Objection and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated as of February 29, 2012; and consideration of the Objection and the relief

requested therein being a core proceeding in accordance with 28 U.S.C. § 157(b)(2); and venue

being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Objection

being adequate and appropriate under the particular circumstances; and the Court having

considered the Phillips Declaration and found and determined that the relief sought in the



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.



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Objection is in the best interests of the Debtors, the Debtors’ estates and creditors, and other parties

in interest and that the legal and factual bases set forth in the Objection establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Objection is sustained as provided herein.

        2.      Any Response to the Objection not otherwise withdrawn, resolved, or adjourned is

overruled on the merits.

        3.      Each Substantive Duplicate Claim listed in the column titled “Substantive

Duplicate Claims to be Disallowed” identified on Schedule 1 hereto is disallowed and expunged

in its entirety. The Duplicate Claim listed in the column titled “Remaining Claim” identified on

Schedule 1 hereto shall remain on the claims register, subject to the Debtors’ further objections

on any substantive or non-substantive grounds and further order of the Court.

        4.      Each No Liability Claim identified on Schedule 2 hereto is disallowed and

expunged in its entirety.

        5.      Each Reduce and Allow Claim identified on Schedule 3 hereto is reduced as set

forth on Schedule 3 under the column titled “Modified.”

        6.      The objection by the Debtors to the Disputed Claims, as addressed in the Objection

and the schedules hereto, constitutes a separate contested matter with respect to each such claim,

as contemplated by Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a

separate Order with respect to each Disputed Claim.

        7.      Any stay of this Order pending appeal by any holder of a Disputed Claim or any

other party with an interest in such claims that are subject to this Order shall only apply to the




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contested matter which involves such party and shall not act to stay the applicability and/or finality

of this Order with respect to the other contested matters arising from the Objection or this Order.

       8.      The Debtors and Omni are authorized to modify the official claims register for these

chapter 11 cases in compliance with the terms of this Order and to take all steps necessary or

appropriate to carry out the relief granted in this Order.

       9.      Nothing in this Order or the Objection is intended or shall be construed as a waiver

of any of the rights the Debtors may have to enforce rights of setoff against the claimants.

       10.     Nothing in this Order, the Objection or the Phillips Declaration shall be deemed or

construed: (a) as a waiver of the Debtors’ rights to dispute or otherwise object to any claim on any

grounds or basis; (b) to waive or release any right, claim, defense, or counterclaim of the Debtors,

or to estop the Debtors from asserting any right, claim, defense, or counterclaim; (c) as an approval

or assumption of any agreement, contract, or lease, pursuant to section 365 of the Bankruptcy

Code; or (d) as an admission that any obligation is entitled to administrative priority or any such

contract or agreement is executory or unexpired for purposes of section 365 of the Bankruptcy

Code or otherwise.

       11.     This Order is immediately effective and enforceable.

       12.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation and/or enforcement of this Order.




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                        Schedule 1

               Substantive Duplicate Claims
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                                                                      Fifth Omnibus Objection (Substantive)
                                                                     Schedule 1 - Substantive Duplicate Claims
                                   SUBSTANTIVE DUPLICATE CLAIM TO BE DISALLOWED                                                                   REMAINING CLAIM **

                               DATE          CASE NUMBER /                                                                             DATE           CASE NUMBER /
           NAME                FILED            DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
1 PARK, FRANCES LYNNE         11/11/20    Boy Scouts of America         C343-               $ 164,377.08 FRANCES LYNNE PARK            11/15/20    Boy Scouts of America      C343-7286              $ 164,377.08
  ADDRESS REDACTED                        20-10343 (LSS)                13442                            ADDRESS REDACTED                          20-10343 (LSS)


  Reason: Claim No. C343-13442 asserts the same liability with respect to Retirement Benefit Restoration Plan obligations as Claim No. 7286. As such, Claim No. 13442 is a duplicative claim on account
  of the same obligation as Claim No. 7286, and the Debtors should not be required to pay a claimant twice on account of the same obligation or debt. Claim No. C343-13442 should be disallowed and
  Claim No. C343-7286 should remain on the claims register.
2 WILLIAMS, ROY L             09/15/20    Boy Scouts of America      C343-3263            $ 2,386,986.12* ROY L WILLIAMS               09/29/20    Boy Scouts of America       C343-369             $ 2,386,986.12
  ADDRESS REDACTED                        20-10343 (LSS)                                                  ADDRESS REDACTED                         20-10343 (LSS)


  Reason: Claim No. 3263 asserts the same liability with respect to Retirement Benefit Restoration Plan as Claim No. 369. As such, Claim No. 3263 is a duplicative claim on account of the same
  obligation as Claim No. 369, and the Debtors should not be required to pay a claimant twice on account of the same obligation or debt. Claim No. 3263 should be disallowed and Claim No. 369 should
  remain on the claims register.




           This Schedule contains certain redactions to personal contact information in compliance with the confidentiality procedures, as set forth in the Final Order (I) Authorizing Debtors to File (A)
           A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
           Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [Docket No. 274].
           * Indicates claim contains unliquidated and/or undetermined amounts

          ** The Debtors reserve all rights to object to the Remaining Claims on any grounds permitted under applicable law.
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                        Schedule 2

                    No Liability Claims
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                                                                         Fifth Omnibus Objection (Substantive)
                                                                            Schedule 2 - No Liability Claims
                                                               DATE
    NAME                                                       FILED               DEBTOR                CLAIM #           CLAIM AMOUNT                      REASON FOR DISALLOWANCE**
1   AUSTEN SMITH                                             11/13/2020 Boy Scouts of America           C343-10194                $ 3,000.00 According to the Debtors' books and records, the claimant has
    ADDRESS REDACTED                                                                                                                         already been disbursed $2,000 and can access the remaining
                                                                                                                                             $1,000 by contacting the National Eagle Scout Association.

2   CENTERPOINT ENERGY                                        3/3/2020     Boy Scouts of America          C343-14                 $ 2,404.02 According to the Debtors’ books and records, the Debtors have
    ATTN: ANGELA B THOMPSON                                                                                                                  no liability on the asserted claim. Liability, if any, belongs to
    P.O. BOX 1700                                                                                                                            non-debtors Caddo Area Council and Sam Houston Area
    HOUSTON, TX 77251
                                                                                                                                             Council.

3   CITY OF FORT WORTH                                        7/31/2020 Boy Scouts of America            C343-298                   $ 277.56 According to the Debtors’ books and records, the Debtors have
    ATTN: STEPHEN A CUMBIE                                                                                                                   no liability on the asserted claim. Liability, if any, belongs to
    200 TEXAS ST                                                                                                                             non-debtor Longhorn Council.
    FORT WORTH, TX 76102


4   CITY OF FRESNO                                            11/2/2020 Boy Scouts of America           C343-1743                   $ 188.00 According to the Debtors’ books and records, the Debtors have
    FRESNO CITY ATTORNEYS OFFICE                                                                                                             no liability on the asserted claim. Liability, if any, belongs
    2600 FRESNO ST, RM 2031                                                                                                                  to non-debtor local council, Sequoia Council.
    FRESNO, CA 93721


5   COLORADO PRINTING COMPANY AKA CPC NEUTEK                  11/2/2020 Boy Scouts of America           C343-1642                $ 34,533.74 Based on discussions with CPCNeutek, the Debtors understand
    C/O FAIR HARBOR CAPITAL LLC                                                                                                              that this amended claim asserted by Fair Harbor Capital, LLC
    P.O. BOX 237037                                                                                                                          was unauthorized by the principals of CPCNeutek and was
    NEW YORK, NY 10023
                                                                                                                                             asserted without their knowledge. The name of the claimant,
                                                                                                                                             Colorado Printing Company, listed on the amended claim, is not
                                                                                                                                             affiliated with CPCNeutek. The Debtors understand that the
                                                                                                                                             employee who purportedly authorized the amended claim is no
                                                                                                                                             longer with CPCNeutek.

6   EDWARD G MILLS II                                         11/9/2020 Delaware BSA, LLC                C342-408           $ 50,000,000.00 Claimant asserts liabilities against Delaware BSA, LLC that
    C/O STARK & STARK PC                                                                                                                    are also asserted against BSA. The claim is asserted with
    ATTN: DAVID SCHMID                                                                                                                      respect to the same personal injury liabilities as Claim 3084.
    993 LENOX DR, BLDG 2
                                                                                                                                            The Debtors have determined that Delaware BSA, LLC is not
    LAWRENCEVILLE, NJ 08648
                                                                                                                                            jointly liable with the BSA for such obligation and is not a
                                                                                                                                            guarantor of such obligation. The Debtors have determined
                                                                                                                                            that Claim 408 should be disallowed and Claim 3084, which
                                                                                                                                            is properly asserted against the BSA, should remain.



    This Schedule contains certain redactions to personal contact information in compliance with the confidentiality procedures, as set forth in the Final Order (I) Authorizing Debtors to File
    (A) A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
    Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [Docket No. 274]


    ** The Debtors reserve all rights to object to the Remaining Claims on any grounds permitted under applicable law.
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                                                                    Fifth Omnibus Objection (Substantive)
                                                                       Schedule 2 - No Liability Claims
                                                           DATE
    NAME                                                   FILED               DEBTOR               CLAIM #        CLAIM AMOUNT                       REASON FOR DISALLOWANCE**
7   ESTATE OF RODOLFO R TREVINO                          11/19/2020 Delaware BSA, LLC               C342-1260           $ 1,000,000.00   Claimant asserts liabilities against Delaware BSA, LLC that
    ADDRESS REDACTED
                                                                                                                                         are also asserted against BSA. The Debtors have determined
                                                                                                                                         that Delaware BSA, LLC is not jointly liable with the BSA
                                                                                                                                         for such obligation and is not a guarantor of any such
                                                                                                                                         obligation. The Debtors have determined that Claim 1260
                                                                                                                                         should be disallowed and Claim 12615, which is properly
                                                                                                                                         asserted against the BSA, should remain.


8   ESTATE OF RODOLFO R TREVINO                          11/16/2020 Delaware BSA, LLC               C342-1300           $ 1,000,000.00   The Claimant asserts liabilities against Delaware BSA, LLC that
    ADDRESS REDACTED                                                                                                                     are also asserted against BSA. The Debtors have determined that
                                                                                                                                         Delaware BSA, LLC is not jointly liable with the BSA for such
                                                                                                                                         obligation and is not a guarantor of any such obligation. The
                                                                                                                                         Debtors have determined that Claim 1300 should be disallowed
                                                                                                                                         and Claim 12615, which is properly asserted against the BSA,
                                                                                                                                         should remain.


9 ILLINOIS DEPARTMENT OF EMPLOYMENT                      12/22/2020 Boy Scouts of America          C343-13712            $ 16,991.00     Based on subsequent documentation received from the
    SECURITY                                                                                                                             claimant, the Debtors have no liability on the asserted claim.
    ATTN: BANKRUPTCY UNIT                                                                                                                Following the filing of the claim, the Debtors received a
    33 S STATE ST, 10TH FL
    CHICAGO, IL 60603                                                                                                                    statement of amounts due for benefits paid from the claimant,
                                                                                                                                         dated 2/26/21, indicating that $16,991.00 from the prior
                                                                                                                                         quarter was canceled due to COVID-19 and instructing the
                                                                                                                                         Debtors not to pay this amount.

10 PAUL A BROCKLAND                                      10/24/2020 Delaware BSA, LLC               C342-1320           Undetermined*    The Claimant asserts liabilities against Delaware BSA, LLC
    ADDRESS REDACTED
                                                                                                                                         that are also asserted against BSA. The claim asserts the
                                                                                                                                         same liabilities with respect to BSA's pension plan as claim
                                                                                                                                         1760. The Debtors have determined that Delaware BSA,
                                                                                                                                         LLC is not jointly liable with the BSA for such obligation
                                                                                                                                         and is not a guarantor of such obligation. The Debtors have
                                                                                                                                         determined that Claim 1320 should be disallowed and Claim
                                                                                                                                         1760, which is properly asserted against the BSA, should
                                                                                                                                         remain.




            * - Indicates claim contains unliquidated and/or undetermined amounts

            ** The Debtors reserve all rights to object to the Remaining Claims on any grounds permitted under applicable law.                           Page 2 of 3
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                                                                    Fifth Omnibus Objection (Substantive)
                                                                       Schedule 2 - No Liability Claims
                                                           DATE
   NAME                                                    FILED               DEBTOR               CLAIM #        CLAIM AMOUNT                         REASON FOR DISALLOWANCE**
11 REDACTED CLAIM 1072                                   11/9/2020 Delaware BSA, LLC               C342-1072           Undetermined*       Claimant asserts liabilities against Delaware BSA, LLC that
    ADDRESS REDACTED                                                                                                                       are also asserted against BSA. The claim is asserted with
                                                                                                                                           respect to the same wrongful death claim as Claim 14023.
                                                                                                                                           The Debtors have determined that Delaware BSA, LLC is
                                                                                                                                           not jointly liable with the BSA for such obligation and is
                                                                                                                                           not a guarantor of such obligation. The Debtors have
                                                                                                                                           determined that Claim 1072 should be disallowed and
                                                                                                                                           Claim 14023, which is properly asserted against the BSA,
                                                                                                                                           should remain.
12 REDACTED, A MINOR CHILD (DAVID DALE PARENT) 11/16/2020 Delaware BSA, LLC                         C342-916             $ 100,000.00      Claimant asserts liabilities against Delaware BSA, LLC that
   ADDRESS REDACTED                                                                                                                        are also asserted against BSA. The claim is asserted with
                                                                                                                                           respect to the same personal injury liabilities as Claim 17529.
                                                                                                                                           The Debtors have determined that Delaware BSA, LLC is not
                                                                                                                                           jointly liable with the BSA for such obligation and is not a
                                                                                                                                           guarantor of such obligation. The Debtors have determined that
                                                                                                                                           Claim 916 should be disallowed and Claim 17529. which is
                                                                                                                                           properly asserted against the BSA, should remain.

13 THOMAS R MEYERING                                     10/24/2020 Delaware BSA, LLC               C342-1318                  $ 776.50*   Claimant asserts liabilities against Delaware BSA, LLC that
   ADDRESS REDACTED                                                                                                                        are also asserted against the BSA. The claim asserts the same
                                                                                                                                           liabilities with respect to BSA's pension plan as Claim 2650.
                                                                                                                                           The Debtors have determined that Delaware BSA, LLC is not
                                                                                                                                           jointly liable with the BSA for such obligation and is not a
                                                                                                                                           guarantor of such obligation. The Debtors have determined
                                                                                                                                           that Claim 1318 should be disallowed and Claim 2650, which
                                                                                                                                           is properly asserted against the BSA, should remain.



                                                                                                  TOTAL                 $ 52,158,170.80*




          * - Indicates claim contains unliquidated and/or undetermined amounts

          ** The Debtors reserve all rights to object to the Remaining Claims on any grounds permitted under applicable law.                               Page 3 of 3
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                          Schedule 3

                    Reduce and Allow Claims
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                                                                         Fifth Omnibus Objection (Substantive)
                                                                         Schedule 3 - Reduce and Allow Claims
                                                                                     ASSERTED CLAIM                                                           MODIFIED
    NAME                                   CLAIM#                  DEBTOR                  PRIORITY            AMOUNT                        DEBTOR                 PRIORITY            AMOUNT
                                                                                            STATUS                                                                   STATUS
1   GEROLAMO, MCNULTY, DIVIS &             C343-        Boy Scouts of America             Unsecured                  $2,360.00 Boy Scouts of America               Unsecured                       $800.00
    LEWBART                                14471
    ATTN: KELLY FOX
    121 S BROAD ST, STE 1400
    PHILADELPHIA, PA 19107


    Reason: According to the Debtors' books and records, the valid claim amount is $800. Prepetition invoices 65863 and 65864 were claimed in the amounts $1,460 and $100, and were paid in full via ACH
    no. 00000765 on 2/12/2020 totaling $1,560. Therefore, the claim should be reduced by that paid amount.

2   PCM                                    C343-86      Boy Scouts of America             Unsecured                 $17,162.94    Boy Scouts of America            Unsecured                      $2,536.23
    C/O INSIGHT DIRECT USA INC
    ATTN: MICHAEL L. WALKER
    6820 S HARL AVE
    TEMPE, AZ 85283


    Reason: According to the Debtors' books and records, the valid claim amount is $2,536.23. Invoices 900467836 and 900472201, totaling $2,990, were paid in full via ACH no. 00063754 dated 7/30/2019.
    Invoices 901092241 and 901097280, totaling $11,636.71, were charged to non-debtor local council, Laurel Highlands Council and have been paid. Therefore, the claimed amount should be reduced by
    $14,626.71.

3   TEXAS WORKFORCE COMMISSION    C343-353              Boy Scouts of America             Administrative           $535,036.35    Boy Scouts of America            Administrative            $495,112.34
    REGULATORY INTEGRITY DIVISION
    - SAU
    OFFICE OF THE ATTORNEY
    GENERAL
    BANKRUPTCY COLLECTION DIV MC
    008
    P.O. BOX 12548
    AUSTIN, TX 78711-2548

    Reason: Based on subsequent documentation received from the claimant, the valid claim amount is $495,112.34. Claimant filed claim 353 prior to the end of Q3 of 2020 and included an estimated
    amount for Q3 of 2020. When the amount for Q3 subsequently became due and owing, the Claimant invoiced the Debtors $119,738.15 for actual Q3 liabilities, which is $39,924.01 lower than the
    estimated amount asserted in Claim 353.

                                                        TOTAL                                                     $ 554,559.29 TOTAL                                                        $ 498,448.57




                                                                                                                                                                                    Page 1 of 1
